255 F.2d 404
    Frieda RADER and Paul Rader, Plaintiffs-Appellants,v.MANUFACTURERS CASUALTY INSURANCE COMPANY OF PHILADELPHIA,Defendant-Appellee.
    No. 259, Docket 24928.
    United States Court of Appeals Second Circuit.
    Submitted May 12, 1958.Decided May 20, 1958.
    
      Before CLARK, Chief Judge, and SWAN and LUMBARD, Circuit Judges.
      PER CURIAM.
    
    
      1
      While the allegations of the lengthy complaint herein are not overclear, it is quite apparent that plaintiffs are once more seeking to evade responsibility for the bail bond indemnity to which they have been held in a series of actions that they have initiated in the state and federal courts.  These are fully described, with citations, in our latest decision, Rader v. Manufacturers Cas. Ins. Co. of Philadelphia, 2 Cir., 242 F.2d 419, of which, and the record on which it was based, we take judicial notice.  There is no excuse for these many attempts to reopen issues thoroughly settled and now completely res judicata.  We modify the judgment to provide for dismissal of the complaint on the merits.
    
    
      2
      Simon &amp; Brand, Brooklyn, N.Y., for plaintiffs-appellants.
    
    
      3
      Edward H. Levine, New York City (Vernon C. Rossner, New York City, of counsel), for defendant-appellee.
    
    